                          CASE NO. 15-30504
                  UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT
           ===========================================================
                   JAB ENERGY SOLUTIONS II, L.L.C.
                           Plaintiff/Appellee
                                    v.
                 SERVICIO MARINA SUPERIOR, LLC and
                     CASHMAN EQUIPMENT CORP.
                         Defendants/Appellants

         Appeal of Judgment from the United States District Court for the
           Eastern District of Louisiana, Civil Action No. 2:13-cv-556
                  Honorable Judge Ivan L. R. Lemelle Presiding
                             ___________________________

      REPLY BRIEF OF SERVICIO MARINA SUPERIOR, LLC AND
     CASHMAN EQUIPMENT CORP., DEFENDANTS/APPELLANTS
                             ___________________________




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                                                                   iii
                                          ARGUMENT

          Appellee, JAB Energy Solutions II, LLC (“JAB”), asserted that the only issue

before the Court is the question of whether the District Court’s findings of fact are

clearly erroneous.          Servicio Marina Superior, LLC (“SMS”) and Cashman

Equipment Corp. (“Cashman”) submit that JAB’s effort to revise the issues presented

for review speaks volumes. In its brief, JAB, among other things, fails to address the

plain language of and the law related to the Contract of Affreightment (“COA” or the

“Contract”); fails to address the District Court’s incomplete ambiguity analysis; and

apparently refuses to even concede that those are issues before the Court on a de novo

review. SMS and Cashman provide the following reply brief as a means to clarify

the issues and evidence before the Court.

          A. JAB urges the Court to Apply an Incorrect Standard of Review and
             Provides No Insight Into How Any Part of the COA was Ambiguous

          JAB urges the Court to find that the District Court was correct in ruling that

substantial portions of the COA were ambiguous and should be construed against

Cashman/SMS. JAB incorrectly asks the Court to conclude that the District Court’s

finding of ambiguity in the COA was “not ‘clearly erroneous.’”1 As this Court has

made clear, the determination of whether a contract is ambiguous is a question of law

reviewed de novo.2


1
    Original Brief on Behalf of Appellee JAB Energy Solutions II, LLC (“JAB Brief”), p. 23.
2
    Thrift v. Hubbard, 44 F.3d 348, 357 (5th Cir. 2/15/95).

                                                  1
       Further, JAB did not attempt to explain why any of the provisions (or sections)

of the COA are ambiguous (just as the District Court provided no explanation). JAB

did not dispute that the ambiguity analysis was left unfinished (as the Court merely

stated that it would construe terms against Cashman/SMS). Instead, like the District

Court, JAB mischaracterized testimony3 and ignored evidence and contract

provisions that indicate that the “Contract shall be construed neutrally, and as the

commemoration of the mutual assent of both Parties, rather than for or against a

Party.”4 As outlined in SMS’s and Cashman’s Appeal Brief (and as JAB failed to

even dispute), the COA was unambiguous and the District Court’s decision should be

reversed.

       B. JAB Failed to Adequately Dispute the Total Lack of Evidence and Law
          in Support of the District Court’s Findings of Unseaworthiness at
          Tender

       JAB asserted that SMS did not tender a seaworthy tug, but backed its position

with mere speculation and non-credible evidence.




3
  JAB attempts to create the impression that Andrew Saunders testified that the COA was a form
contract shaped entirely by SMS. Mr. Saunders’s testimony says nothing more than changes were
made throughout the entire document by both parties. ROA.1815.
4
  ROA.43, para. 17 (sentence 3). Even ignoring those provisions and evidence, this Court has ruled
that resolving ambiguities against the drafter has little value when the parties have equal
sophistication and bargaining power as they had here. McDermott Int'l, Inc. v. Lloyd's Underwriters
of London, 944 F.2d 1199, 1207 (5th Cir. 10/3/91).

                                                2
           1. The District Court Consciously Did Not Apply the Adverse
              Inference Rule

       Instead of addressing the lack of support for the District Court’s Decision,

JAB’s brief asked the Court to consider a tale of speculative fiction. A story about

what certain vessel logs could have shown if they showed things that were positive to

JAB’s case. JAB pointed out that “[c]ertainly the District Court was free to apply the

‘adverse inference rule’ against Cashman/SMS for their failure to offer into evidence

the Atlas’s engine room logs and engine room maintenance logs.”5 Whether the

District Court was free to apply the rule, it declined to do so once the parties briefed

their positions on the issue after the trial.           JAB refers to evidence that was

unavailable, that was requested early in the case and for which a formal objection

was entered by SMS, and that JAB did not make further efforts to pursue. On the

other hand, the main logs were available, were provided to JAB, and were admitted

at trial. The evidence indicates that any significant information contained in the

engine room logs would have been indicated on the main logs.6

       JAB again attempts to paint SMS as scheming and devious, but in reality,

when the vessel returned to Louisiana in August of 2012, there was no reason to

believe that a lawsuit would be filed months later (there was never a discussion of a


5
 JAB Brief, pp. 27-28.
6
  See Trial Exhibit 3, pp. 150-154 and Trial Exhibit 4, pp. 166-168. For example, Trial Exhibit 4
shows that the oil filter replacement and engine shut down were disclosed on the handwritten logs
on pp. 163-167, and the engine trouble after leaving the Panama Canal was disclosed on pp. 185-87.

                                                3
lawsuit; SMS believed that the parties had reached a compromise), so SMS had no

obligation to preserve those records. Apparently the District Court agreed and

declined to apply any adverse inference after the issue had been exhaustively briefed,

so JAB’s speculation on the issue is irrelevant. The District Court did not apply the

rule.

           2. In Support of Its Contentions Regarding the Purported
              Unseaworthiness of the Tug, JAB Only Provided Non-Credible
              Evidence

        JAB still refuses to acknowledge that all of the COA Paragraphs related to

“seaworthiness” must be read together. It still refuses to acknowledge that Paragraph

3A and Paragraph 4B of the COA make it clear that SMS only warranted

seaworthiness at tender, that JAB waived any absolute warranty of seaworthiness

beyond that “foregoing” statement, and that JAB waived any claims regarding

seaworthiness at tender upon acceptance of the tug, which was deemed suitable by

JAB’s acceptance.

        JAB still refuses to acknowledge that neither Mr. Torbert nor any witness

(even JAB’s own expert) testified that any smoke observed “indicated a turbo

generator problem.”7 JAB still refuses to acknowledge that there is no credible




7
   See Original Brief of Servicio Marina Superior, LLC and Cashman Equipment Corp.
(“SMS/Cashman Brief”), pp. 33-34 (citing Trial Exhibit 262, Sec. 5 at 5; ROA.1894-95, 1915).
JAB is also apparently metaphysically unable to acknowledge that the phrase “thick black smoke” is
contained in no witness testimony in the entire case and was invented by its attorney at trial.

                                                4
evidence that the engineer on board “wrongfully shut off all fuel.”8 Instead, JAB

criticizes Mr. Thibodaux, speculates on purportedly-concealed preexisting fuel

consumption issues,9 which SMS would have had no incentive to conceal (SMS was

the one paying for the fuel under the terms of the COA), and JAB condemns the use

of a towing shackle (which was inspected and approved by Noble Denton) involved

in the barge breakaway.

       The evidence is clear the crew’s actions did not rise to the level of negligence

or unseaworthiness; there is no credible evidence of unseaworthy conditions at

tender; and there is no support whatsoever for JAB’s new assertion that the “only

logical conclusion is that Cashman and SMS concealed the tug’s engine problems

from Noble Denton.”10 As with most alleged conspiracies, there is a much simpler

explanation: there is no evidence of engine problems at tender and there was no

problem with the tug’s engines at tender.




8
   See SMS/Cashman Brief, p. 36, fn 132 (citing ROA.1645, 1842, 1846, 1860, 1894, 1924, and
1927). While JAB may think that extrapolation of such facts from thin air is harmless, the District
Court apparently found JAB’s numerous extensions of the truth to be compelling in rendering the
Decision.
9
  Despite the COA’s requirements for JAB to inspect and survey the vessels, JAB did not bother to
review the logs from the prior trip or to inspect any of the supposedly defective equipment prior to
departure. See ROA.36, para. 4B. (“Shipper [JAB] shall be responsible for inspecting the Vessels,
including their fittings, gear and equipment, prior to acceptance at tender to determine their
suitability and fitness for the intended services …”).
10
   SMS had the engines serviced prior to departing on the voyage. See Trial Exhibit 25. SMS spent
over $11,000 on maintenance immediately after the tug’s return from Africa in February 2012.

                                                 5
        C. Even if the Tug had been Unseaworthy at Tender, JAB Waived Any
           Claims by Accepting the Tug Because the Parties Agreed to an Express
           Waiver of Seaworthiness in the COA

        Again JAB has asked the Court to find that the District Court’s reading of the

contract was not “clearly erroneous,” urging the Court to apply the incorrect standard

of review. The standard of review for the interpretation of a contract is de novo.11

        JAB asserts that “[t]here is no language in the COA excluding, eliminating,

negating or waiving Cashman/SMS’ express warranty of seaworthiness stated in the

first sentence of Article 3A.” The plain language of the COA contradicts this. As

outlined in detail in the Appeal Brief, JAB expressly waived any absolute warranty of

seaworthiness or any other warranty of the tug or barge;12 and once the vessels were

accepted by JAB, by its acceptance JAB waived the limited warranty of

seaworthiness at tender.13 In addition, JAB agreed to defend, indemnify, release, and

hold SMS harmless for any unseaworthiness claims,14 and SMS declined

responsibility for such claims.15 Finally, according to the COA, neither party was to

be responsible for consequential damages or damages related to unseaworthiness.16

Nearly identical language from an SMS contract was considered in Servicio Marina

Superior, LLC v. Matrix Int’l Ltd., and that court found that the contract was


11
   National Union Fire Ins. Co. v. Circle, Inc., 915 F. 2d 986, 989 (5th. Cir. 10/26/90).
12
   ROA.36, para. 3A (sentence 3).
13
   ROA.36, para. 4B.
14
   ROA.39, para. 5(A)(2)(F).
15
   ROA.38, para. 5(A)(1)(C).
16
   ROA.41, para. 8.

                                                   6
unambiguous in its terms: the shipper’s acceptance of the vessel barred any breach of

contract claim related to alleged unseaworthiness because once accepted, the shipper

waived its claims.17

       JAB asserts that there can be no waiver “without a clear and unambiguous

‘exclusion of the warranty.’”18           The COA contained sufficient language to

accomplish the waiver, and the District Court never explained why it refused to

enforce the clear terms of the contract. There must be a waiver if the only plausible

reading of the COA—indicated by five separate clauses—was that SMS only

provided a limited warranty of seaworthiness at tender, and there was otherwise an

exclusion of the warranty in scope (SMS provided no absolute warranty of

seaworthiness19) and by condition (JAB waived the limited warranty-at-tender by

acceptance of the vessels20). Therefore, there was a waiver of the warranty of

seaworthiness as found in Servicio Marina Superior, LLC v. Matrix Int’l Ltd. The

COA could not be more clear—if all of the terms of the contract are read together and

interpreted without rendering any of the terms meaningless:21 the parties agreed to an

express waiver of seaworthiness.




17
   2008 U.S. Dist. 103632, *36-37 (S.D. Ala. 12/18/08).
18
   JAB Brief, p. 33.
19
   ROA.36, para. 3A (sentence 3).
20
   ROA.36, para. 4B.
21
   Chembulk Trading LLC v. Chemex Ltd., 393 F.3d 550, 555 (5th Cir. 12/8/04).

                                                7
       D. JAB Defined “Due Dispatch” By Looking at a Document that was Not
          Part of the COA

       As SMS explained in its Appeal Brief, the maritime industry and the case law

have been quite thorough in establishing a clear definition of “due dispatch” over the

past centuries. There is simply no ambiguity in the term, particularly if all of the

terms of the contract are interpreted without rendering any of them meaningless.22

       Instead, JAB has declared that “the only reasonable measure of ‘due dispatch’”

must be extrapolated from documents that were not part of the COA: emails and the

Voyage Plan.23 This was a similar finding to the District Court’s. And, it is directly

contradicted by the terms of the COA.

       First, the COA contained an integration clause stating that the COA constitutes

“the entire agreement between the Parties with respect to matters addressed in [the

COA] and expressly supersed[ed] all prior and contemporaneous negotiations,

communications, understandings and agreements, whether written or oral.”24 But,

moreover, the terms of the COA contradict the notion that there was any

contemplated deadline or strict timetable in place. Just as the court pointed out in

Servicio Marina Superior, LLC v. Matrix Int’l Ltd. (regarding a contract with nearly

identical terms), because this COA required SMS to perform services with due

dispatch, “but makes no warranty as to speeds or arrival/departure times,” and

22
   Id.
23
   JAB Brief, p. 41.
24
   See Paragraph 17 (ROA.43).

                                          8
provided SMS with the right to “deviate in attempt to save life and/or property at

sea,” and “to select any route, speed and/or towing arrangement believed reasonable”

there was clearly no date certain, and no strict timetable, under the contract.25 Thus,

in contrast, this District Court’s analysis, which JAB endorses, interprets the COA in

a way that makes terms of the COA meaningless or directly contradictory.

          According to JAB and the District Court, despite the clear meaning of the term

“due dispatch,” through its context, industry usage, and case law, the term was

ambiguous. According to JAB and the District Court, despite the fact that the parties

agreed that the COA superseded all previous communications (i.e., the Voyage Plan

and emails), the District Court looked to the language of those earlier

communications to impose new obligations on SMS. Finally, according to JAB and

the District Court, despite the fact that terms of the COA were clear that no deadline

or strict timetable was imposed on SMS, the contradictory terms of the Voyage Plan

somehow trumped the terms of the COA, imposing a new obligation on SMS, which

the District Court then found that SMS breached.

          The District Court’s interpretation—transforming language of earlier

documents into contractual obligations—is as alarming as it is incorrect.           The

absurdity of this interpretation is shown by JAB’s consistent attempt to impose a




25
     2008 U.S. Dist. LEXIS 103632, at *48-52 (S.D. Ala. 12/18/08).

                                                  9
minimum-speed obligation on SMS,26 despite the fact that it is directly contrary to

the statement in the COA that SMS “makes no warranty as to speeds or

arrival/departure times.” The District Court’s interpretation is even more alarming in

light of the Decision’s holding that SMS breached its obligation “to assist JAB in

locating a substitute tug”27 notwithstanding the fact that the COA did not contain any

such requirement and the “obligation” that the District Court was referring to was a

conditional statement found only in the Voyage Plan, not an obligation that the parties

agreed to include in the COA. In essence, by this magic of interpretation, SMS was

found to have breached an obligation that did not exist.28

       JAB’s arguments on the “due dispatch” issue provide additional proof of the

errors in the District Court’s analysis. Based on the clear language in the COA, it

was simply not reasonable for JAB to rely on the Voyage Plan when the parties did

not agree that its language would be made a part of, and its terms were contradicted

by, the COA.29

       E. The Plain Language of the Contract Intended to Bar the Damages that
          JAB Alleged and the District Court Awarded

       Paragraph 8 of the COA stated that neither SMS nor JAB would be responsible

for “any special or consequential damages” regardless of the cause, even if due to

26
   JAB Brief, p. 41.
27
   ROA.1511 (Reasons, p. 27).
28
   SMS/Cashman Brief, p. 42, fn 156 and p. 18, fn. 70.
29
   See SMS/Cashman Brief, pp.38-39 (“JAB’s president acknowledged at trial that the inclusion of
such a deadline would have increased the price.” citing ROA.1665, ln 17-ROA.1666, ln 7).

                                              10
“the unseaworthiness of either of the Vessels.”30          JAB claimed that SMS was

responsible for the full costs of a replacement vessel because JAB elected to

terminate the COA. JAB’s termination of the COA was based on JAB’s perception

that the journey was not proceeding at an adequate speed, which JAB alleged was

caused by the unseaworthiness of the vessel Atlas.            JAB sought consequential

damages that it alleged were caused by the unseaworthiness of one of SMS’s vessels.

The damages were precisely within the scope of Paragraph 8 and therefore were

precluded.

       JAB claims that it was only seeking direct damages and that consequential and

special damages “generally take the form of” certain categories of damages that were

not alleged here. In the case cited by JAB, the court found that the damages

representing the cost of a substitute vessel were indeed “consequential damages.”31

Many cases find the cost of a replacement or substitute vessel to be “consequential

damages.”32 As JAB asserts, the inquiry depends on what damages were foreseeable

as a result of the type of “breach” that occurred. The error in the District Court’s

Decision is made clear in JAB’s argument.

       JAB states that it “claimed only for the actual costs to hire a substitute tug to

complete the voyage and remedy Cashman/SMS’ breach of contract – that is, the
30
   ROA.41.
31
   Compania Anonima Venezolana De Navegacion v. American Express Intl. Banking Corp., 1985
U.S. Dist. LEXIS 17972, *7 (S.D.N.Y. 7/12/85).
32
   See Statia Terminals N.V. v. Huber, Inc., 1998 U.S. Dist. LEXIS 14003, *98-99 and 157-160
(E.D. La. 8/31/98).

                                            11
damages caused directly by Cashman/SMS’ refusal to provide a substitute tug to

replace the Atlas.”33 As stated above, SMS had no contractual obligation to provide a

substitute tug (JAB and the District Court created that obligation in this litigation)

and therefore SMS could not have foreseen much less be in breach of that “duty.”

Further, JAB had no contractual right to terminate the COA and be released from its

obligations. Nevertheless, the parties reached a compromise in which each parties’

rights were adjusted and settled.34

      What was the breach from which SMS’s payment of the costs of a replacement

tug were directly foreseeable? Was it the fictional obligations to maintain a certain

speed and provide a substitute tug?       Was it SMS’s diligent efforts to ensure

reasonable dispatch despite mechanical issues? Was SMS’s breach its acquiescence

to JAB’s request to terminate the COA and adjust the rights and financial

consequences between the parties?       As SMS’s personnel testified, it was not

foreseeable to them that they would have to foot the bill for JAB’s expensive

replacement tugs, or they would never have acquiesced in the termination of the

COA and the compromise between the parties.35

      The District Court did not explain how the damages were “direct,” and why

they therefore should not be included within the definition of “consequential

33
   JAB Brief, p. 46.
34
   See SMS/Cashman Brief, pp. 42-47.
35
    See SMS/Cashman Brief, p. 47 (citing ROA.1700 and testimony of Messrs. Alexander
(ROA.1739) and Schwall (ROA.1965)).

                                         12
damages.” The only “breach” that JAB contends the costs of the replacement tug

were foreseeable from is a breach of an obligation that did not exist.

       Most importantly though, what certainly could be foreseen, from a litigation

perspective, was that Paragraph 8 of the COA plainly stated that damages stemming

from unseaworthiness of the vessel were included within the contract’s definition of

“consequential damages.” Certainly, if there was any confusion, the District Court

should have considered the language agreed to by the parties that defined damages

related to alleged unseaworthiness to be included within the definition of

“consequential damages.”

       F. JAB’s New Arguments Should Be Disregarded

       JAB implies that JAB was under duress when it was allowed out of the COA

and implies that there is a reason to raise the issue of unjust enrichment. Neither

finding was made by the District Court and neither argument is applicable.

       JAB also makes the new argument that the language of the Bareboat

Agreement only intended a compromise as it related to the barge, but not to the tug.

The contract speaks for itself and does not support this argument. None of JAB’s

new arguments dispute the evidence that the financial terms, the contractual terms,

and the related correspondence leading up to the execution of the Bareboat Charter,

all sought to resolve and settle the differences of the parties related to both vessels.




                                            13
      G. JAB’s Application of the Indemnities in its Favor Despite Claiming
         that the Same Indemnities Cannot Be Applied in SMS’s Favor
         Underscores the Absurdity of the District Court’s Result

      JAB again attempted to paint SMS in a negative light by mischaracterizing the

testimony of its personnel. During the trial, the judge asked Mr. Saunders to explain

his understanding of the knock-for-knock indemnity provisions of the COA. On

ROA.1805, Mr. Saunders explained that, according to the plain provisions of the

contract, each party was responsible for its own negligence and was precluded from

bringing certain claims against the other party. JAB removed the testimony from its

context and asserted that the statement, paired with the District Court’s finding of

negligence, relieves this Court of the need to evaluate whether the District Court was

correct in finding the entirety of the indemnities were ambiguous. On the contrary,

JAB’s mischaracterization of Mr. Saunders’s comment is a further indication of the

importance of this Court’s consideration of how JAB and the District Court

misinterpreted the knock-for-knock indemnities.

      JAB asserted that the District Court was correct in finding that the entirety of

the indemnities in Paragraph 5 of the COA were ambiguous, and therefore the

indemnities were somehow deemed ineffective. Apparently, because the indemnities

were ambiguous and ineffective, the indemnities were powerless to prevent JAB’s

claims against SMS, and therefore JAB was properly awarded damages on its claims.




                                         14
       Incredibly, though, in the same appellate brief, JAB asserts that those exact

Paragraph 5 indemnities that were powerless against JAB’s claims, have vigor and

dynamism in the face of SMS’s claims. All of the ambiguities that rendered the

indemnities powerless against SMS, are no longer ambiguous. Now the terms of

Paragraph 5 are clear and have full capacity to preclude SMS’s counterclaims against

JAB. JAB’s reasoning is absurd and highlights the impossibility of explaining the

District Court’s result.

       What is good for the goose is good for the gander. These indemnity provisions

clearly required each party to be responsible for its own issues and precluded the

other party from bringing claims on the contemplated subject matter (indeed, this was

the purpose of Mr. Saunders’s trial testimony when read in context). If JAB and the

District Court are allowed to use these indemnities to preclude SMS’s claims, then

SMS should be allowed to receive the same benefits from the COA. JAB agreed to

indemnify, defend, and hold SMS harmless for the damages that JAB sought in the

lawsuit (and that the District Court awarded). The District Court’s puzzling logic, as

shown in JAB’s arguments, bypasses the intentions of the parties in the COA and

uses the same provision to eliminate SMS’s claims, while awarding damages for

JAB’s claims. Such a result is impossible to reconcile. Either the indemnities were

effective and precluded both side’s claims, or they were ineffective and did not

preclude any party’s claims.



                                         15
      The indemnities included in the COA are a time-honored risk allocation

measure. Despite JAB’s and the District Court’s characterization of the indemnities

as ambiguous, they are clear and represent the intentions of the parties.       The

indemnities in the COA should be enforced to preclude JAB’s claims.

                                 CONCLUSION

      Contracts are more than just words on a page. The clear and unambiguous

agreements of the parties should be honored. JAB’s Brief highlights the illogical

leaps and alarming ramifications of the District Court’s Decision, which will cast a

shadow of uncertainly on maritime contracts. The Judgment should be reversed.

Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

      This is to certify that I have this day served a true and correct copy of the

ORIGINAL BRIEF OF SERVICIO MARINA SUPERIOR, LLC AND

CASHMAN EQUIPMENT CORP., DEFENDANTS/APPELLANTS upon the

following counsel of record for Appellee, through filing with the Court’s CM/ECF

system:

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      New Orleans, Louisiana, this 13th day of October, 2015.

Respectfully Submitted,

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Dated:      October 13, 2015




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